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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

 

EUGENE SCALIA, )
SECRETARY OF LABOR, )
UNITED STATES DEPARTMENT OF LABOR, )
)

Plaintiff, )

)

V. ) Civil Action No.

)

COASTAL SERVICES, LLC, and )
GEORGE ELLIOT, )
)

Defendants. )

)

COMPLAINT

Plaintiff, Eugene Scalia, Secretary of Labor, United States Department of Labor
(“Plaintiff”) brings this action to enjoin COASTAL SERVICES, LLC, a corporation, and
GEORGE ELLIOT, individually, and as a manager and of the aforementioned corporation,
(collectively, “Defendants”), from violating the provisions of Sections 6, 7, 11(c), 15(a)(2), and
15(a)(5) of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“the
Act”), and for a judgment against Defendants in the total amount of back wage compensation
found by the Court to be due to any of the employees of Defendants pursuant to the Act and an
equal amount due to the employees of Defendants in liquidated damages.

1, Jurisdiction of this action is conferred upon the Court by Section 17 of the Act, 29
U.S.C. § 217, and by 28 U.S.C. §§ 1331 and 1345.

2. Defendant COASTAL SERVICES, LLC, is a corporation duly organized under
the laws of the State of Delaware, with a registered office at 30430 Cedar Neck Road, Ocean
View, Delaware 19970. Defendant is engaged in a construction business headquartered at the

same address, within the jurisdiction of this Court.
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3, Defendant GEORGE ELLIOT is the owner of the corporation identified in
Paragraph I. Elliot has directed employment practices and has directly or indirectly acted in the
interest of Defendant Coastal Services, LLC, in relation to its employees at all times relevant
herein, including setting employees’ conditions of employment and supervising employees day-
to-day.

4. The business activities of Defendants, as described herein, are and were related
and performed through unified operation or common control for a common business purpose and
constitute an enterprise within the meaning of Section 3(r) of the Act.

5. Defendants have employed and are employing employees in and about their place
of business in the activities of an enterprise engaged in commerce or in the production of goods
for commerce, including employees handling, selling, or otherwise working on goods or
materials that have been moved in or produced for commerce, including construction equipment
and materials. The enterprise has had an annual gross volume of sales made or business done in
an amount not less than $500,000.00. Therefore, Defendants’ employees are employed in an
enterprise engaged in commerce or in the production of goods for commerce within the meaning
of Section 3(s)(1)(A) of the Act.

6. Defendants willfully violated the provisions of Sections 7 and 15(a)(2) of the Act
by employing their employees in an enterprise engaged in commerce or in the production of
goods for commerce for workweeks longer that those prescribed in Section 7 of the Act without
compensating said employees for employment in excess of the prescribed hours at rates not less
than one and one-half times their regular rates. Therefore, Defendants are liable for the payment
of unpaid overtime compensation and an equal amount of liquidated damages under Section

16(c) of the Act. Defendants’ payroll records show numerous instances where employees worked
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more than 40 hours in a work week but received only their regular rate of compensation for their
overtime hours.

i Defendants violated the provisions of Sections 11(c) and 15(a)(5) of the Act in
that Defendants failed to make, keep, and preserve adequate and accurate records of their
employees, which they maintained as prescribed by the regulations issued and found at 29 C.F.R.
Part 516..

WHEREFORE, cause having been shown, the Secretary prays for judgment against
Defendants providing the following relief:

(1) For an injunction issued pursuant to Section 17 of the Act permanently enjoining
and restraining Defendants, their officers, agents, servants, employees, and those persons in
active concert or participation with Defendants who receive actual notice of any such judgment,
from violating the provisions of Sections 6, 7, 11(c), 15(a)(2) and 15(a)(5) of the Act; and

(2) For judgment pursuant to Section 16(c) of the Act finding Defendants liable for
unpaid minimum wage and overtime compensation due to certain of Defendants’ current and
former employees listed in the attached Schedule A for the period of November 26, 2015 to
November 21, 2018, and for an equal amount due to certain of Defendant’s current and former
employees in liquidated damages. Additional amounts of back wages and liquidated damages
may also be owed to certain current and former employees of Defendants listed in the attached
Schedule A for violations continuing after November 21, 2018, and may be owed to certain
current and former employees presently unknown to the Secretary for the period covered by this
Complaint, who may be identified during this litigation and added to Schedule A; or

(3) In the event liquidated damages are not awarded, for an injunction issued pursuant

to Section 17 of the Act restraining defendants, their officers, agents, employees, and those
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persons in active concert or participation with defendants, from withholding the amount of

unpaid minimum wages and overtime compensation found due defendants’ employees and

prejudgment interest computed at the underpayment rate established by the Secretary of the

Treasury pursuant to 26 U.S.C. § 6621.

FURTHER, Plaintiff prays that this Honorable Court award costs in his favor, and an

order granting such other and further relief as may be necessary and appropriate.

October 23, 2019
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UNITED STATES DEPARTMENT OF LABOR

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